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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

Society of Professional Engineering Employees            )
in Aerospace, IFPTE Local 2001, et al.,                  )
                                                         )
                       Plaintiffs,                       )    Civil Action Nos.
                                                         )    05-CV-1251-JWB
vs.                                                      )          and
                                                         )    07-CV-1043-JWB
The Boeing Company, et al.,                              )
                                                         )
                       Defendants.                       )
                                                         )

                          Joint Stipulation of Dismissal with Prejudice

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, all remaining

Plaintiffs (individual plaintiffs James Boone, Bruce Carselowey, Michael McCartney, Randall

McFarland, Larry Moore, Linda Norman – executor of the Estate of Russell Norman, Norris

Palmer, James Queen, Timothy Sanders, Bradley Stevens, Marlon Stocking, Steven Stoner –

executor of the Estate of William Stoner, Margaret Wieland, and Lisa Wright; and union plaintiffs

Society of Professional Engineering Employees in Aerospace, IFPTE Local 2001, and

International Association of Machinists and Aerospace Workers and District Lodge 70) and

Defendants (The Boeing Company, The Boeing Company Employee Retirement Plan, The Boeing

Retiree Health and Welfare Benefit Plan, The Boeing Company Layoff Benefits Plan, and the

Boeing Employee Benefits Plan Committee) jointly file this Stipulation of Dismissal with

Prejudice. The Parties stipulate that this action and all claims contained in this matter are

voluntarily dismissed with prejudice, with each party responsible for its own respective costs and

attorneys’ fees incurred as a result of this action, except as otherwise agreed.
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                                       Respectfully submitted,


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─ and ─

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this December 10, 2019, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing

to all counsel of record.

                                                     /s/ Boyd A. Byers
                                                     Boyd A. Byers                      #16253
